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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 LAURA WONDERCHECK,                             )
                                                )
                   Plaintiff,                   )
                                                )
                      v.                        )
                                                )         Civil Action No. 1:19-cv-00640-LY
 MAXIM HEALTHCARE SERVICES,                     )
 INC.,                                          )
                                                )
                 Defendant.                     )

      DEFENDANT MAXIM HEALTHCARE SERVICES, INC.’S RESPONSE TO
          PLAINTIFF LAURA WONDERCHECK’S MOTION IN LIMINE

       Defendant Maxim Healthcare Services, Inc. files this Response to one of the four motions

in limine made by Plaintiff Laura Wondercheck. To the extent Maxim does not address a motion

in limine made by Plaintiff, Maxim does not waive its arguments regarding admissibility, but

agrees to approach the bench to obtain a ruling before offering evidence on those topics.

       Wondercheck asks the Court to grant her Motion with respect to “[a]ny testimony or

reference to Defendant’s purported claims that Wondercheck failed to mitigate her damages.” Pl.’s

Mot. in Lim. ¶ 3. Evidence that Wondercheck failed to mitigate her damages is not only relevant,

it is necessary to Maxim’s affirmative defense of failure to mitigate. Because such evidence is

critical to a viable affirmative defense, its probative value outweighs any potential prejudice to

Wondercheck.

       Wondercheck cannot escape this conclusion by arguing that the defense is not viable in

this case. Wondercheck attempts to rely on Sparks v. Griffin here, as she did at the summary

judgment stage, to assert that Maxim must show both (1) Wondercheck failed to use reasonable

care and diligence to obtain substantially equivalent employment and (2) substantially equivalent


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work was available. 460 F.2d 433, 443 (5th Cir. 1972). However, she again fails to acknowledge

that the Fifth Circuit has held more recently that the employer is not required to prove the second

element when it can prove the first. See Sellers v. Delgado Comm. Coll. (Sellers II), 839 F.2d

1132, 1139 (5th Cir. 1988). The Fifth Circuit subsequently reiterated this holding. See Sellers v.

Delgago Comm. Coll. (Sellers III), 902 F.2d 1189, 1193 (5th Cir. 1990); West v. Nabors Drilling

USA, Inc., 330 F.3d 379, 393 (5th Cir. 2003). And though there is some debate among the district

courts about whether Sparks or Sellers II is controlling, the Fifth Circuit “has applied Sellers II

more often and more recently.” Rybar v. Corp. Mgmt., 2015 U.S. Dist. LEXIS 92688, Civ. Action

No. 1:14-CV-242-KS-MTP, at *2 & n.3 (S.D. Miss. July 16, 2015) (collecting Fifth Circuit cases).

Finally, the Western District of Texas has recently followed Sellers II. See Crankshaw v. City of

Elgin, 1:18-CV-75-RP, 2019 WL 3883564, at *3 (W.D. Tex. May 8, 2019) (“[S]hould an employer

prove ‘that an employee has not made reasonable efforts to obtain work, the employer does not

also have to establish the availability of substantially equivalent employment.’” (quoting Sellers

III, 902 F.2d at 1193)).

       Nevertheless, even if this Court follows Sparks, Maxim should be given the opportunity at

trial to show that substantially equivalent employment was in fact available. The fact that Maxim

paid above market rate does not mean that no other employers also paid above market rate. Maxim

can attempt to prove this is true by, for example, questioning Wondercheck about the

compensation she would have received from any of the employers to which she applied. Storr v.

Alcorn State University, the only case Wondercheck has identified in which a court granted a

motion in limine on this topic, is inapposite. No. 3:15-CV-618-DPJ-FKB, 2017 WL 3471191, at

*4-5 (S.D. Miss. Aug. 11, 2017). In that case, the plaintiff “requested Defendant to identify any

potential jobs [to which] Defendant contends Plaintiff should have applied.” Pl.’s Mot. in Limine


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at 3, Storr, ECF No. 45. The defendant refused to answer. Id. Wondercheck never made such a

request in this case; therefore, Maxim has not yet needed to provide evidence of substantially

equivalent employment. The availability of such employment is a highly fact-intensive issue and

should be decided by, rather than withheld from, the jury. See, e.g., Smith v. Tower Auto.

Operations, USA, 1, LLC, Civ. Action No. 3:13-CV-00967-CWR-FKB, 2014 WL 1404734, at *4

(S.D. Miss. Apr. 10, 2014) (“[T]he issue of mitigation of damages as it relates to back pay . . . is a

fact-intensive issue that will be submitted to the jury . . . .”).

                                            CONCLUSION

        For the foregoing reasons, the Court should deny Wondercheck’s Motion and permit

Maxim to introduce evidence on and make reference to Wondercheck’s failure to mitigate her

damages.


Dated: November 13, 2020                                 Respectfully submitted,

                                                         /s/ Lindsay A. Hedrick
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 13, 2020, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system, which will send electronic notice to all counsel of record.

                                                      /s/ Lindsay A. Hedrick
                                                      Lindsay A. Hedrick
